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                             In the United States District Court
                               For the Northern District of Ohio
                                       Eastern Division

                      Richard M. Neace,                    Case No. 4: 22 cv 00681 JPC


                             Plaintiff                     Judge J. Phillip Calabrese

                      v.                                   Plaintiff’s Notice to Voluntarily
                                                           Dismiss without Prejudice

                      CoreCivic, Inc.,                     Patricia Horner
                      Et al.,                              S. Ct. #0039912
                                                           412 14th Street
                                                           Toledo, OH 43604
                             Defendants.                   (419) 699-6163
                                                           FAX (419) 244-1119
                                                           attorneypath@gmail.com
                                                           Counsel for Plaintiff

              Now comes plaintiff through his Attorney pursuant to FRCP 41(A)( i) and

submits his Notice of voluntarily dismissing all claims without prejudice as provided by FRCP

41(A)(i).

       There is not a motion for summary judgment or to dismiss pending currently thus there

would not be any prejudice to defendants.

                                                    Respectfully submitted,

                                                    /s/ Patricia Horner
                                                    Patricia Horner

                                        Certificate of Service
       This is to certify that a copy of this Notice was delivered via electronic mail to Tim
Bojanowski through this Court’s electronic mail delivery system and directly to him this 2nd day
of April 2023.

                                                    /s/ Pat Horner
                                                    Pat Horner
